986 F.2d 1412
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Clayton CAUDELL, Plaintiff-Appellant,v.SHERIFF OF POWHATAN JAIL;  David A. Williams, Warden ofState Farm Correction Center;  Officer Jones;Doctor B. M. L. Kapil, Defendants-Appellees.
    No. 92-6995.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 22, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-90-1130-N)
      Robert Clayton Caudell, Appellant Pro Se.  Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Virginia; Carlyle Randolph Wimbish, III, SANDS, ANDERSON, MARKS &amp; MILLER, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Robert Clayton Caudell appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.*  Accordingly, we affirm on the reasoning of the district court.  Caudell v. Sheriff of Powhatan, No. CA-90-1130-N (E.D. Va.  Sept. 4, 1992).  We deny Caudell's motion for oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         In light of our disposition, we deny Caudell's motion for the appointment of counsel
      
    
    